                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 WESTERN DIVISION

                                              )
IN RE:                                        )
                                              )       Case No. 19-70152-JHH
SOUTHFRESH AQUACULTURE, LLC,                  )
                                              )       Chapter 11
         Debtor.                              )

                   AMENDED NOTICE OF CRITICAL VENDOR PAYMENTS

         SouthFresh Aquaculture, LLC (the “Debtor”), as debtor and debtor-in-possession (the

“Debtor”), by and through undersigned counsel, files this Notice of Critical Vendor Payments (the

“Notice”). The list attached hereto as Exhibit “A” describes payments made to critical vendors

through April 1, 2019 (the “Critical Vendor Payment List”). The Critical Vendor Payment List

sets forth all parties who have been paid as critical vendors as of April 1, 2019, and the amount of

payment each party has received pursuant to (i) the Court’s Order (i) Authorizing the Payment of

Critical Vendor Claims, and (ii) Granting Related Relief (Doc. 29) and (ii) Order (i) Authorizing

the Payment of Critical Vendor Claims, and (ii) Granting Related Relief (Doc. 81) (collectively,

the “Critical Vendor Orders”). Pursuant to the Critical Vendor Orders, the Debtor is authorized to

pay critical vendors up to an aggregate amount of $1,470,000, of which $1,351,261.50 has been

paid to critical vendors as of April 1, 2019, leaving approximately $120,000 available for

additional critical vendor payments (the “CV Balance”). The Debtor is continuing to negotiate

with its creditors and exercising its business judgment in accordance with the Critical Vendor

Orders with respect to the disposition of the CV Balance.

         The Debtor will file a separate certificate of service with the Court to confirm service of

this list.




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         Respectfully submitted this the 1st day of April, 2019.

                                                              /s/ Ryan D. Thompson
                                                              J. Leland Murphree
                                                              Jayna P. Lamar
                                                              Ryan D. Thompson
                                                              Evan N. Parrott
                                                              Wes Bulgarella

                                                              Proposed Counsel to the Debtor


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                                 Exhibit “A”

                         Critical Vendor Payment List




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Amount Paid            Vendor Name
          12,000.00    A LA CARTE SPECIALTY FOODS, LLC
          26,350.00    AB Vista Inc.
          19,660.40    ADM Milling Co.
          18,389.90    ADM Milling Co.
              150.00   AGILOC INTERNATIONAL, INC.
              815.00   Alabama Elevator & Accessibili
            4,062.30   American Colloid Company
            9,752.40   AMPRO PRODUCTS, INC
               90.33   APPLIED INDUSTRIES TECH.
            1,175.90   Arbon Equipment
                4.44   Ardent Mills, LLC
            7,874.17   Ardent Mills, LLC
               88.28   ATLAS WELDING SUPPLY CO., INC.
               41.57   ATLAS WELDING SUPPLY CO., INC.
            1,803.88   ATLAS WELDING SUPPLY CO., INC.
              260.09   ATLAS WELDING SUPPLY CO., INC.
              237.22   BAADER NORTH AMERICA
            2,356.75   BAADER NORTH AMERICA
            4,472.00   BAADER NORTH AMERICA
            7,247.89   BAADER NORTH AMERICA
            3,410.86   BAADER NORTH AMERICA
            1,403.80   BAADER NORTH AMERICA
            1,675.60   BAADER NORTH AMERICA
            1,354.02   BAADER NORTH AMERICA
              223.20   BANKS & COMPANY
              300.00   BEAVER CREEK FARMS
              300.00   BEAVER CREEK FARMS
            1,552.61   CAIN STEEL AND SUPPLY
              787.22   CHEM-AQUA
              300.00   CHRISTON PEASTER
              353.22   CINTAS #215
            1,225.06   COLLUM FOOD PROCESSING MACHINERY, INC
              983.60   COLLUM FOOD PROCESSING MACHINERY, INC
            2,719.16   COLONIAL BAG COMPANY
            4,550.52   Comdata
            4,406.34   COMMODITY SPECIALISTS COMPANY
            4,233.44   COMMODITY SPECIALISTS COMPANY
            4,388.52   COMMODITY SPECIALISTS COMPANY
            4,465.80   Commodity Specialists Company
            4,189.10   COMMODITY SPECIALISTS COMPANY
            3,960.03   COMMODITY SPECIALISTS COMPANY
            2,850.00   COMMODITY SPECIALISTS COMPANY
            2,850.00   COMMODITY SPECIALISTS COMPANY
            4,423.66   COMMODITY SPECIALISTS COMPANY
            5,553.21   Covia Lime LLC




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         98.12   COVINGTON HEAVY DUTY PARTS, INC.
         34.12   COVINGTON HEAVY DUTY PARTS, INC.
      5,464.98   CPC COMMODITIES
        801.00   D'IBERVILLE COLD STORAGE
      2,190.74   D'Ibeverille Cold Storage
        812.35   Dixie Feed & Trucking, LLC
         90.95   DOMBHART CATFISH SUPPLY
         59.92   DOMBHART CATFISH SUPPLY
        714.76   DOMBHART CATFISH SUPPLY
         90.95   DOMBHART CATFISH SUPPLY
         72.76   DOMBHART CATFISH SUPPLY
      1,718.08   DOUGLAS KOEHN-QUALITY SEINING, LLC
      2,111.64   DOUGLAS KOEHN-QUALITY SEINING, LLC
      1,726.64   DOUGLAS KOEHN-QUALITY SEINING, LLC
        816.16   DOUGLAS KOEHN-QUALITY SEINING, LLC
        757.52   DOUGLAS KOEHN-QUALITY SEINING, LLC
        294.80   DOUGLAS KOEHN-QUALITY SEINING, LLC
      1,815.28   DOUGLAS KOEHN-QUALITY SEINING, LLC
        195.00   DRS. KETCHAM & DISMUKES CLINIC
      5,160.00   EAGLE TRANSPORTATION LLC
      5,090.00   EAGLE TRANSPORTATION LLC
      5,052.00   EAGLE TRANSPORTATION LLC
      2,106.19   Ed Johnson
     31,716.86   ELYSIAN FISH FARM & CITIZEN BA
      8,589.30   Elysian Fish Farms
         55.00   EULER HERMES SERVICES NORTH AM
        338.00   EXTRU-TECH, INC.
        222.00   Extru-Tech, Inc.
      8,099.20   FAIRWAY DAIRY & INGREDIENTS
      3,630.71   Farmers Grain Terminal, Inc.
        404.71   FFE TRANSPORTATION SERVICES IN
      6,074.25   FFE TRANSPORTATION SERVICES IN
        679.05   FFE TRANSPORTATION SERVICES IN
        874.20   FFE TRANSPORTATION SERVICES IN
        594.95   FFE TRANSPORTATION SERVICES IN
        597.64   FFE TRANSPORTATION SERVICES IN
        449.94   FFE TRANSPORTATION SERVICES IN
        346.50   FFE TRANSPORTATION SERVICES IN
        693.63   FFE TRANSPORTATION SERVICES IN
        396.56   FFE TRANSPORTATION SERVICES IN
        674.65   FFE TRANSPORTATION SERVICES IN
        482.68   FFE TRANSPORTATION SERVICES IN
        404.71   FFE TRANSPORTATION SERVICES IN
        480.00   FFE TRANSPORTATION SERVICES IN
      3,150.00   Fred Robertson
        260.00   Fredrick Taylor
      7,077.76   FS GROUP, INC


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        125.00   GADDY ELECTRIC & PLUMBING
      4,789.67   Gavilon Ingredients, LLC
      4,126.10   Gavilon Ingredients, LLC
      6,728.39   Gavilon Ingredients, LLC
      4,273.71   Gavilon Ingredients, LLC
      7,560.26   Gavilon Ingredients, LLC
      3,745.77   Gavilon Ingredients, LLC
      4,986.35   Gavilon Ingredients, LLC
      4,719.75   Gavilon Ingredients, LLC
      3,815.40   Gavilon Ingredients, LLC
      3,854.97   Gavilon Ingredients, LLC
      4,357.18   Gavilon Ingredients, LLC
      3,861.30   Gavilon Ingredients, LLC
      4,137.14   Gavilon Ingredients, LLC
     11,522.94   GIVHAN LAND & CATTLE
      1,498.90   Golden Peanut Company, LLC
      1,450.80   Golden Peanut Company, LLC
      1,489.80   Golden Peanut Company, LLC
      1,463.15   Golden Peanut Company, LLC
      1,483.30   Golden Peanut Company, LLC
      1,210.95   Golden Peanut Company, LLC
      1,483.30   Golden Peanut Company, LLC
      1,623.05   Golden Peanut Company, LLC
      1,482.00   Golden Peanut Company, LLC
      2,490.61   Golden Peanut Company, LLC
      1,508.00   Golden Peanut Company, LLC
      1,420.25   Golden Peanut Company, LLC
      1,411.80   Golden Peanut Company, LLC
      9,040.31   GP Corrugated LLC
      8,993.36   GP Corrugated LLC
     11,695.20   GP Corrugated LLC
        143.62   GRAINGER, INC.
         33.52   GREENSBORO FARMER'S COOP
         50.00   GREENSBORO FARMER'S COOP
         57.27   GREENSBORO FARMER'S COOP
         52.16   GREENSBORO FARMER'S COOP
         35.53   GREENSBORO FARMER'S COOP
         45.72   GREENSBORO FARMER'S COOP
         49.72   GREENSBORO FARMER'S COOP
         41.99   GREENSBORO FARMER'S COOP
         32.27   GREENSBORO FARMER'S COOP
         27.52   GREENSBORO FARMER'S COOP
         60.34   GREENSBORO FARMER'S COOP
         89.00   GREENSBORO FARMER'S COOP
         34.14   GREENSBORO FARMER'S COOP
         16.91   GREENSBORO FARMER'S COOP
         33.94   GREENSBORO FARMER'S COOP


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          4.20   GREENSBORO FARMER'S COOP
        262.97   GREENSBORO FARMER'S COOP
        252.69   GREENSBORO FARMER'S COOP
         41.00   GREENSBORO FARMER'S COOP
         74.27   GULF COAST MARINE SUPPLY CO.
        260.53   GULF COAST MARINE SUPPLY CO.
        691.93   GULF COAST MARINE SUPPLY CO.
        259.43   Gulf Coast Marine Supply Co.
        600.00   HARMONY HILL TRUCKING CO. INC.
      1,079.00   HARMONY HILL TRUCKING CO. INC.
     13,500.00   HEARTLAND CATFISH
      2,725.00   HENRY WELDING, LLC
      2,875.00   HENRY WELDING, LLC
      6,520.50   Hicks Pallets
     17,855.00   HILO FISH COMPANY, INC.
        690.00   INDUSTRIAL ELECTRIC MOTOR WORK
      1,600.00   J & C Farms,LLC
      2,925.00   JENSEN TUNA, INC.
        108.20   JOE'S REPAIR SHOP
      1,317.44   JOE'S REPAIR SHOP
        310.00   JOE'S REPAIR SHOP
     -4,020.09   KEN DILLER
      8,411.70   KEN DILLER
     38,634.46   KEN DILLER
     62,871.45   KEN DILLER
        624.37   KIWI CODERS CORP
     37,899.72   KYLE D. SCHMIDT
     44,744.21   KYLE D. SCHMIDT
     37,632.00   KYLE D. SCHMIDT
      1,653.31   KYLE D. SCHMIDT
      3,510.45   LAND O'LAKES PURINA FEED LLC
      3,672.85   LAND O'LAKES PURINA FEED LLC
      3,403.15   LAND O'LAKES PURINA FEED LLC
      3,578.50   Lansing Trade Group, LLC
      8,421.28   Lansing Trade Group, LLC
      3,362.72   Lansing Trade Group, LLC
      8,437.21   Lansing Trade Group, LLC
      3,497.40   Lansing Trade Group, LLC
      3,354.03   Lansing Trade Group, LLC
      3,682.77   Lansing Trade Group, LLC
      3,636.43   Lansing Trade Group, LLC
      3,475.68   Lansing Trade Group, LLC
      3,304.79   Lansing Trade Group, LLC
      3,367.07   Lansing Trade Group, LLC
      1,957.50   LANSING VERMONT, INC.
      9,163.98   LANSING VERMONT, INC.
        785.00   Lansing Vermont, Inc.


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      4,322.12   Lansing Vermont, Inc.
      4,184.40   Lansing Vermont, Inc.
      1,707.48   Lansing Vermont, Inc.
        442.00   LARSEN INTERMODAL SERVICES INC
        651.79   LEDWELL
     13,918.35   LITTLE ROCK FARM, INC.
      2,542.40   LNC Kansas
      2,567.04   LNC Kansas
      2,573.76   LNC Kansas
      4,434.60   LNC Kansas
     14,587.71   LOREN DILLER
      4,691.46   LOREN DILLER
        257.38   M & M SEINING, LLC
        811.63   M & M SEINING, LLC
        223.78   MARVIN D. GREGORY-GREGORY & SONS
        181.06   Marvin's Credit Services
      6,565.19   McCain Engineering
      2,489.00   McCain Engineering
      9,715.69   McCain Engineering
      2,491.97   MOTION INDUSTRIES, INC.
      2,711.87   NETWORK TRADING, INC.
        328.05   NEWELL PAPER CO.
        871.33   NEWELL PAPER CO.
         19.09   NEWELL PAPER CO.
         34.10   NOLIN MILLING
      1,907.81   NOLIN MILLING
     23,600.00   Norfolk Southern
        287.10   NORTHPORT ELECTRICAL SUPPLY
        736.38   Northport Electrical Supply
        264.46   NORTHPORT ELECTRICAL SUPPLY
      5,326.80   NUTRA BLEND CORPORATION
      8,940.60   NUTRA BLEND CORPORATION
     10,329.08   NUTRA BLEND CORPORATION
      4,811.25   NUTRA BLEND CORPORATION
     42,472.00   NUTRA BLEND CORPORATION
        673.41   OCEAN FOODS CO.
        213.74   PARKER TIRE, LLC
        145.54   PARKER TIRE, LLC
      9,598.35   Parr's Inc.
      6,594.39   Pinson Truck Equipment Co.
      1,534.13   POWER & RUBBER SUPPLY, INC.
         77.87   POWER & RUBBER SUPPLY, INC.
         72.35   POWER & RUBBER SUPPLY, INC.
     25,272.00   PRAIRIE CAJUN BRANDS LLC
         73.83   Preferred Freezer Chicago III
        474.31   Preferred Freezer Chicago III
        183.25   Preferred Freezer Chicago III


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         26.25   Preferred Freezer Chicago III
        203.85   Preferred Freezer Houston Gulf
         14.25   Preferred Freezer Houston Gulf
          4.75   PREFERRED FREEZER SERVICES OF HOUSTON METRO, LLC
         67.50   PREFERRED FREEZER SERVICES OF RAYNHAM, LLC
         48.00   PREFERRED FREEZER SERVICES OF RAYNHAM, LLC
        164.00   PREFERRED FREEZER SERVICES OF RAYNHAM, LLC
         74.25   PREMIER SPRINGWATER DISTRIBUTO
      3,105.00   PYRAMID TRANSPORT INC
      1,184.56   R & R Brokerage Services, Inc.
        749.43   R & R Brokerage Services, Inc.
      1,469.25   RANGER ENVIRONMENTAL SERVICES
      2,404.20   REDDY ICE CORPORATION
      2,711.86   RIVER CITY DIESEL SERVICES
      2,711.86   RIVER CITY DIESEL SERVICES
      2,711.86   River City Diesel Services
      8,139.67   River City Diesel Services
      1,305.36   River City Diesel Services
        411.09   RIVER CITY DIESEL SERVICES
      3,668.97   RIVER CITY DIESEL SERVICES
        652.00   River City Trucking
      1,283.00   River City Trucking
      1,287.00   River City Trucking
      5,372.00   ROBERTS HAULING, INC.
        165.00   ROGER L. KREBS
      8,800.32   Ronald Nichols
     37,809.42   RUNNING CREEK FARMS, LLC & FNB
     36,590.92   RUNNING CREEK FARMS, LLC & FNB
      3,189.00   SAVANNAH FOOD COMPANY, INC.
     18,562.60   SEA DELIGHT, LLC
     61,065.00   SEAQUEST SEAFOOD CORPORATION
      4,856.90   Skye Diller
        264.00   SOUTHEAST COLD STORAGE
        109.50   SOUTHEAST COLD STORAGE
      1,655.50   SOUTHEAST COLD STORAGE
        480.00   SOUTHEAST COLD STORAGE
      2,341.00   SOUTHEAST COLD STORAGE
      1,536.00   SOUTHEAST COLD STORAGE
      3,784.00   SOUTHEASTERN MINERAL
      2,032.28   SOUTHEASTERN REFRIGERATION, INC.
        115.20   SOUTHERN COLD STORAGE CO.
         93.00   SOUTHERN COLD STORAGE CO.
        265.48   SOUTHERN COMMUNICATIONS SERVICES, INC
         88.44   SOUTHERN COMMUNICATIONS SERVICES, INC
        836.13   Southern Controls
     10,652.76   SOUTHERN LABEL CO., INC.
        726.00   STRICKLAND COMPANIES


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       3,427.70   STRICKLAND COMPANIES
       1,181.00   STRICKLAND COMPANIES
         555.00   SYSCO DETROIT
          86.71   SYSCO HOUSTON
       2,307.20   SYSCO HOUSTON
        -240.00   SYSCO HOUSTON
          79.04   SYSCO HOUSTON
          90.00   SYSCO SOUTHEAST FLORIDA LLC
         298.62   Thompson Food
      13,250.00   TOTAL FEEDS
       3,512.20   TOTAL FEEDS
         187.86   TRINITY LOGISTICS, INC.
       1,419.00   TRISTRATA GROUP
         114.86   TUSCALOOSA OFFICE PRODUCTS
       2,346.76   TUSCALOOSA SCALE CO., INC.
          71.85   UNITED PARCEL SERVICE
       1,864.56   USDA FOOD SAFETY INSPECTION SERVICE
         979.52   Valley Printing Company, Inc.
       5,114.62   Westway Feed Products
       5,078.09   Westway Feed Products
       5,084.83   Westway Feed Products
       5,047.56   Westway Feed Products
      67,680.00   WINSEA INTERNATIONAL USA, INC
   1,351,261.50




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